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                     7

                     8                            UNITED STATES DISTRICT COURT
                     9                           CENTRAL DISTRICT OF CALIFORNIA
                    10                                      WESTERN DIVISION
                    11

                    12   AMAZON LOGISTICS, INC.,                               Case No. 2:20-cv-03230-AB
                    13                     Appellant,                          USBC Case No. 2:19-bk-14989-WB
                    14            v.                                           STIPULATION TO DISMISSAL
                    15   SCOOBEEZ,
                    16                     Appellee.
                    17

                    18            Pursuant to the provisions of Federal Rule of Bankruptcy Procedure 8023, the parties

                    19   hereto hereby stipulate to the dismissal of this appeal with prejudice, each party to bear its own

                    20   costs and fees.

                    21   ////

                    22   ////

                    23   ////

                    24   ////

                    25   ////

                    26   ////

                    27   ////

                    28   (Signatures on following page)
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                             1
                         DB2/ 39350246.1
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                    Case 2:20-cv-03230-AB Document 25 Filed 08/05/20 Page 3 of 3 Page ID #:7664



                     1                                    PROOF OF SERVICE
                     2         I am a citizen of the United States and employed in Los Angeles County,
                         California. I am over the age of eighteen years and not a party to the within-entitled
                     3   action. My business address is One Market, Spear Street Tower, San Francisco,
                         CA 94105-1596.
                     4
                              On August 5, 2020, I served true and correct copies of the following
                     5   documents:
                     6                              STIPULATION TO DISMISSAL
                     7            [ELECTRONIC TRANSMISSION] by electronically transmitting the
                                   above-referenced documents to the Clerk’s Office using the CM/ECF
                     8             System of the United States District Court, Central District of California for
                                   filing and transmittal of a Notice of Electronic Filing to the CM/ECF
                     9             registrants on record.
                    10    Ashley Marie McDow and John Simon on behalf of Appellee, Scoobeez, Inc.
                    11    amcdow@foley.com; jsimon@foley.com

                    12    Sean A O'Keefe on behalf of Appellee, Scoobeez, Inc.
                          sokeefe@okeefelc.com
                    13

                    14    Shane J Moses on behalf of Appellee, Scoobeez, Inc.
                          smoses@foley.com
                    15
                          Dare Law on behalf of the United States Trustee
                    16
                          dare.kaw@usdoj.gov
                    17
                                  [BY ELECTRONIC MAIL] by transmitting via e-mail or electronic
                    18             transmission the document(s) listed above to the person(s) at the e-mail
                                   address(es) set forth below.
                    19
                          David Neale and John-Patrick M. Fritz on behalf of the Official Committee of
                    20    Unsecured Creditors
                          DLN@lnbyb.com; JPF@lnbyb.com
                    21
                          Jennifer L. Nassiri and Crystal Nix-Hines on behalf of Hillair Capital
                    22    Management, LLC
                          jennifernassiri@quinnemanuel.com; crystalnixhines@quinnemanuel.com
                    23
                                  Executed on August 5, 2020, at Los Angeles, California.
                    24
                               I declare that I am employed in the office of a member of the bar of this court
                    25   at whose direction the service was made.
                    26

                    27

                    28                                                             Renee Robles
MORGAN, LEWIS &
 BOCKIUS LLP                                                          3
 ATTORNEYS AT LAW
   LOS ANGELES
                         DB2/ 39350246.1
